      Case: 1:11-cv-07370 Document #: 1 Filed: 10/18/11 Page 1 of 10 PageID #:1




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


DEBORAH L. DOBRUSIN,

               Plaintiff,                                 Case No.

v.
COMPASS LEXECON, LLC,                                    Trial by jury demanded.

               Defendant.


                                          COMPLAINT

       COMES NOW the Plaintiff, by and through her attorneys, The Case Law Firm, LLC, and

for complaint against the Defendant states as follows:

                                           Introduction

       1.      This action arises under the Age Discrimination in Employment Act, 29 U.S.C. §

621 et seq. (hereinafter “ADEA”); and the Americans with Disabilities Act of 1990, 42 U.S.C.

12101 et. seq., as amended (hereinafter “ADA”); and the Family and Medical Leave Act of

1993, 29 U.S.C. 2601 et seq., as amended (hereinafter “FMLA”).

                                      Jurisdiction & Venue

       2.      Jurisdiction is conferred on this Court by the above-named statutes, as well as by

28 U.S.C. § 1331 and § 1367. Venue of this action properly lies in the Northern District of

Illinois, Eastern Division, pursuant to 28 U.S.C. § 1391(b) and (c).

                                        Factual Allegations

       3.      Plaintiff Deborah L. Dobrusin is a citizen of the United States and a resident of

Highland Park, Lake County, Illinois.



                                                 1
      Case: 1:11-cv-07370 Document #: 1 Filed: 10/18/11 Page 2 of 10 PageID #:2




       4.      Defendant Compass Lexecon, LLC (“Defendant”) is a Maryland registered

limited liability company (“LLC”) qualified and doing business in Chicago, Cook County,

Illinois. At all relevant times, Defendant constituted an “employer” as defined by the

aforementioned statutes.

       5.      Plaintiff began working for Defendant as a research analyst on or around October

1995. On or around June 1996, Defendant promoted Plaintiff to the position of Economist as

part of the professional staff, and on or around December 2004, Defendant promoted Plaintiff to

the position of Vice President. Plaintiff held the position of Vice President for six (6) years.

       6.      Throughout Plaintiff’s fifteen (15) year tenure with Defendant, she at all times

met and/or exceeded Defendant’s legitimate performance expectations. Indeed, while working

for Defendant, Plaintiff received consistent positive evaluations, pay increases, and bonuses as a

reflection of her solid work performance.

                 Plaintiff’s Need to Care for Her Sick Daughter and Husband

       7.      On or around November 2009, Plaintiff’s daughter was diagnosed with a type of

liver tumor that required extensive medical treatment. This condition rendered her daughter

periodically substantially limited in her activities of daily living and also substantially limited her

in a number of major life activities.

       8.       On or around September 2009, Plaintiff’s husband was hospitalized for an

enlarged prostate and kidney issues and underwent surgery in October for the condition.

       9.      As a result of Plaintiff’s daughter’s and husband’s medical conditions, Plaintiff

took limited time off of work to care for them in the years 2009 and 2010.

       10.     Both Hal Sider, a Senior Vice President and Head of Defendant’s Management

Committee, and Liz Sodaro, Compass Lexecon Human Resources Director, knew of Plaintiff’s



                                                  2
      Case: 1:11-cv-07370 Document #: 1 Filed: 10/18/11 Page 3 of 10 PageID #:3




daughter’s and husband’s medical conditions and her accompanying need for limited time off to

care for each of them during that time.

       11.     Neither Mr. Sider nor Human Resources ever told Plaintiff that she could or

should designate this time off as FMLA leave.

       12.     Instead, on March 1, 2010, during a meeting to discuss Plaintiff’s 2009 annual

performance review, Mr. Sider referenced her husband’s and daughter’s medical conditions, told

her that he knew “2009 was a hard year for [her],” and then immediately thereafter, accused

Plaintiff of “lacking dedication” in terms of her work performance because of these family

medical obligations.

       13.     Despite this criticism regarding Plaintiff’s supposed “lack of dedication,” Plaintiff

still received a positive review and was still awarded a sizable performance bonus.

                         Defendant’s Decision to Terminate Plaintiff

       14.     On or around March 3, 2011, Defendant decided to terminate Plaintiff.

       15.     At the time of Plaintiff’s termination, Plaintiff was 58 years old.

                Defendant’s Shifting Justifications for Plaintiff’s Termination

       16.     Mr. Sider and Mark Zumbach, Defendant’s Chief Operating Officer, informed

Plaintiff of her termination on March 3, 2011. Mr. Sider and Mr. Zumbach told Plaintiff that

they had decided to terminate her because the company did not need her “coordinator” and

“intermediary” skills any longer. However, the majority of Plaintiff’s job responsibilities did not

include coordinating or acting as an intermediary. As a Vice President, Plaintiff’s main

responsibilities focused on project management, programming and analyzing data, client contact,

and reviewing and abstracting documents and academic literature.




                                                 3
      Case: 1:11-cv-07370 Document #: 1 Filed: 10/18/11 Page 4 of 10 PageID #:4




       17.     During this same meeting, Mr. Zumbach and Mr. Sider gave Plaintiff documents

which showed that her separation was part of a “reduction in force” (“RIF”). However, Plaintiff

was one of only two individuals terminated from Defendant’s entire Chicago office as part of

this supposed “RIF.” Plaintiff and the other individual who were terminated were the oldest

Vice Presidents in the Chicago office. At the time of Plaintiff’s termination, Defendant’s

Chicago office consisted of approximately 140 employees and 19 Vice Presidents.

       18.     Several days after Mr. Sider and Mr. Zumbach informed Plaintiff of her

termination, Plaintiff met with Mr. Zumbach to clarify the reason for her termination. This time,

Mr. Zumbach said that he would have to double check with Mr. Sider about the reasons for the

termination and the appropriate “wording.”

       19.     On March 10, 2011, Plaintiff met with Mr. Sider and Mr. Zumbach once again to

discuss her termination. At this meeting, Mr. Sider exhibited extreme hostility toward Plaintiff.

Mr. Sider and Mr. Zumbach informed Plaintiff that the company had decided to terminate her

because, in addition to no longer needing her “coordinating” and “intermediary” skills, her

performance had “waned” and her “billable hours were low.” Plaintiff then asked why, as a

long-term employee and in light of company past practices, she had not received any warning

regarding performance issues or low billable hours. Mr. Sider responded by claiming that he had

warned Plaintiff in her 2009 annual performance review.

       20.     Despite Mr. Sider’s claims, Defendant never warned Plaintiff of any performance

problems, aside from Mr. Sider accusing Plaintiff of “lacking dedication” in connection with

Plaintiff’s need to take limited time off of work to care for her sick daughter and husband.

Plaintiff’s 2009 annual performance review did not reference any problems with Plaintiff’s

performance or with Plaintiff’s billable hours. Instead, Plaintiff received a sizeable bonus



                                                 4
        Case: 1:11-cv-07370 Document #: 1 Filed: 10/18/11 Page 5 of 10 PageID #:5




indicative of her solid performance in the year 2009. A number of Plaintiff’s substantially

younger counterparts had received a series of negative performance reviews and/or had low

billable hours; yet, those employees were not similarly selected for termination as part of

Defendant’s supposed “RIF.” Furthermore, employees who did have low billable hours received

warnings and were given opportunities to correct any deficiencies prior to becoming subject to

disciplinary action.

                       Plaintiff’s Exhaustion of Administrative Prerequisites

         21.    Plaintiff filed a charge of discrimination against Defendant with the Equal

Employment Opportunity Commission (“EEOC”) on April 19, 2011, alleging associational

disability discrimination and age discrimination. Attached as Exhibit 1 is a copy of that Charge.

         22.    Plaintiff received her Notice of Right to Sue from the EEOC on August 26, 2011.

Attached as Exhibit 2 is a copy of that Notice.

                                       COUNT I
                       AGE DISCRIMINATION IN VIOLATION OF ADEA

         23.    Plaintiff incorporates by reference the preceding paragraphs as though fully set

forth in this Count I.

         24.    Defendant intentionally discriminated against Plaintiff on the basis of her age in

violation of the ADEA by terminating her employment as part of a supposed “RIF” on March 3,

2011.

         25.    Defendant committed the aforesaid discriminatory act with malice or with

reckless indifference to Plaintiff’s federally protected rights under the ADEA.

         26.    As a direct and proximate result of said acts, Plaintiff has suffered loss of

employment, loss of income and loss of other employment benefits, great expense, emotional

distress, humiliation, embarrassment and future lost income and benefits.

                                                  5
      Case: 1:11-cv-07370 Document #: 1 Filed: 10/18/11 Page 6 of 10 PageID #:6




        WHEREFORE, Plaintiff requests that this Court:

                A. Enter a finding that she was subjected to age discrimination in violation of the

                    ADEA;

                B. Enter a finding that Defendant engaged in the age discrimination with malice

                    and reckless indifference for Plaintiff’s rights under the ADEA;

                C. Order Defendant to reinstate Plaintiff to her former position earning her

                    former salary;

                D. Award Plaintiff lost wages and lost benefits;

                E. Award Plaintiff front pay as appropriate;

                F. Award Plaintiff liquidated damages in an amount to be proven at trial;

                G. Award Plaintiff her reasonable attorneys’ fees and costs incurred in bringing

                    this action;

                H. Award Plaintiff prejudgment interest; and

                I. Award Plaintiff any further relief this Court deems to be just and appropriate.

                                COUNT II
          ASSOCIATIONAL DISCRIMINATION IN VIOLATION OF THE ADA

        27.     Plaintiff incorporates by reference the preceding paragraphs as though fully set

forth in this Count II.

        28.     At all relevant times, Plaintiff was a qualified employee entitled to the protections

of the ADA.

        29.     Defendant subjected Plaintiff to an adverse employment action when it terminated

her as a result of her relation to and association with her daughter and husband, both of whom

suffered from disabilities.




                                                  6
      Case: 1:11-cv-07370 Document #: 1 Filed: 10/18/11 Page 7 of 10 PageID #:7




        30.     Defendant intentionally discriminated against Plaintiff on the basis of her known

association with her disabled daughter and disabled husband when Defendant engaged in the

aforesaid discriminatory acts with malice or with reckless indifference to Plaintiff’s federally

protected rights under the ADA.

        31.     As a direct and proximate result of said acts, Plaintiff has suffered loss of

employment, loss of income, loss of other employment benefits, great expense, emotional

distress, humiliation, embarrassment, and future lost income and benefits.

        WHEREFORE, Plaintiff respectfully requests that this Court:

                A. Enter a finding that Defendant discriminated against Plaintiff in violation of

                    the ADA;

                B. Order Defendant to reinstate Plaintiff to her former position at her former rate

                    of pay and benefits;

                C. Award Plaintiff lost wages in the form of back pay and, if applicable, front

                    pay;

                D. Award Plaintiff compensatory and punitive damages;

                E. Award Plaintiff attorneys’ fees; and

                F. Award Plaintiff any such further relief that the Court may deem just and

                    equitable.


                                    COUNT III
                      INTERFERENCE IN VIOLATION OF THE FMLA

        32.     Plaintiff incorporates by reference the preceding paragraphs as though fully set

forth in this Count III.

        33.     Plaintiff was an eligible employee as defined by the FMLA.



                                                  7
      Case: 1:11-cv-07370 Document #: 1 Filed: 10/18/11 Page 8 of 10 PageID #:8




       34.     Upon receiving reasonable notice from Plaintiff of her need for family medical

leave in order to take care of her sick daughter and husband, Defendant had a duty to provide

Plaintiff with the appropriate medical leave pursuant to the FMLA.

       35.     Defendant knowingly, intentionally, and willfully failed to provide Plaintiff with

the leave to which she was entitled.

       36.     As a direct and proximate result, Plaintiff has suffered loss of employment and

great expense, including but not limited to lost wages and lost benefits.

       WHEREFORE, Plaintiff respectfully requests that the Court:

               A. Enter a finding that Defendant interfered with Plaintiff’s FMLA rights;

               B. Order Defendant to reinstate Plaintiff to her former position at her former rate

                   of pay and benefits;

               C. Award Plaintiff lost wages in the form of back pay and, if applicable, front

                   pay;

               D. Award Plaintiff liquidated damages;

               E. Award Plaintiff attorneys’ fees; and

               F. Award Plaintiff any such further relief that the Court may deem just and

                   equitable.


                                         COUNT IV
                          DISCRIMINATION IN VIOLATION OF THE FMLA

       37.     Plaintiff incorporates by reference the preceding paragraphs as though fully set

forth in this Count IV.

       38.     Plaintiff was an eligible employee as defined by the FMLA.




                                                 8
      Case: 1:11-cv-07370 Document #: 1 Filed: 10/18/11 Page 9 of 10 PageID #:9




       39.      Defendant knowingly, intentionally and willfully discriminated against Plaintiff in

considering Plaintiff’s taking of limited FMLA leave during 2009 and 2010 when it decided to

terminate her as part of a supposed “RIF” on March 3, 2011 and in treating her differently than

her counterparts who had not needed leave.

       40.      As a direct and proximate result of said acts, Plaintiff has suffered loss of

employment, loss of income and loss of other employment benefits, great expense, emotional

distress, humiliation, embarrassment and future lost income and benefits.

       WHEREFORE, Plaintiff respectfully requests that the Court:

       A. Enter a finding that Defendant discriminated against her in violation of the FMLA;

       B. Order Defendant to reinstate Plaintiff to her former position at her former rate of pay

             and benefits;

       C. Award Plaintiff lost wages in the form of back pay and, if applicable, front pay;

       D. Award Plaintiff liquidated damages;

       E. Award Plaintiff attorneys’ fees; and

       F. Award Plaintiff any such further relief that the Court may deem just and equitable.

                                       COUNT V
                         RETALIATION IN VIOLATION OF THE FMLA

       41.      Plaintiff incorporates by reference the preceding paragraphs as though fully set

forth in this Count V.

       42.      Plaintiff was an eligible employee as defined by the FMLA.

       43.      Defendant knowingly, intentionally, and willfully retaliated against Plaintiff as a

result of Plaintiff exercising her rights under the FMLA by terminating Plaintiff after Plaintiff

took limited FMLA time off of work in 2009 and 2010 to care for her sick daughter and husband.




                                                  9
    Case: 1:11-cv-07370 Document #: 1 Filed: 10/18/11 Page 10 of 10 PageID #:10




       44.     As a direct and proximate result, Plaintiff suffered loss of employment and other

great expense, including but not limited to lost wages and lost benefits.

       WHEREFORE, Plaintiff respectfully requests that the Court:

               A. Enter a finding that Defendant retaliated against Plaintiff in violation of the

                   FMLA;

               B. Order Defendant to reinstate Plaintiff to her former position at her former rate

                   of pay and benefits;

               C. Award Plaintiff lost wages in the form of back pay and, if applicable, front

                   pay;

               D. Award Plaintiff liquidated damages;

               E. Award Plaintiff attorneys’ fees; and

               F. Award Plaintiff any such further relief that the Court may deem just and

                   equitable.

                                          JURY DEMAND

       Plaintiff hereby demands trial by jury on all issues herein.

                                                             Respectfully submitted,

                                                             DEBORAH L. DOBRUSIN

                                                             By: /s/ Kristin M. Case
                                                             One of Her Attorneys


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                                                10
